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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          MCALLEN DIVISION
TIERRA CALIENTE MUSIC                    §
GROUP, S.A. DE C.V. D/B/A                §
REMEX MUSIC and MIDAS                    §
MUSICAL, INC.,                           §      CIVIL ACTION NO. 7:18-CV-252
                                         §
V.                                       §
                                         §
SER-CA DISCOS, INC.

           JOINT MOTION TO AMEND SCHEDULING ORDER

    TO THE HONORABLE RANDY CRANE, UNITED STATES
DISTRICT JUDGE:

      All parties file this Joint Motion to Amend Scheduling Order, and in support

would show:

                                   INTRODUCTION

      1.      On September 22, 2020, the Court entered an Amended Rule 16

Scheduling Order for this case setting trial for May 4, 2021 [Doc 52]. The Amended

Scheduling Order was based on the impact of the legal proceedings in Mexico and

designation of experts, and conduct discovery based thereon. Although complicated,

the parties have continued to cooperatively work out discovery issues without the

need for court intervention and, since then, additional written discovery has been

exchanged. Further complicating the case is the fact that Servando Cano, Sr., who is

the Defendant’s principal, as well as Discos y Cintas Serca, S.A. de C.V. passed

away on February 8, 2021.
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      2.     However, depositions that needed to be taken were delayed due to

COVID-19. Notwithstanding the pandemic, the depositions of Servando Cano, Jr.

and Hector Cano were completed on September 16, 2020, and the parties continued

to exchange documents. On March 18, 2021, the Plaintiffs served on Defendant their

Plaintiffs’ First Supplemental Designation of Experts listing 4 additional experts and

a new expert report from a newly designated C.P.A. On March 23, 2021, the

Plaintiffs served Defendant with some 695,373 additional documents in support of

the C.P.A.’s report.

      3.     The Defendant has been digesting this information and Plaintiffs’

counsel has agreed to extend the deadline for the Defendant’s expert designation

until April 23rd. Of course, the experts on both sides will need to be deposed, in

addition to other witnesses. The parties are working on scheduling deposition dates,

made especially difficult not only because of Covid but also by the fact that the

witnesses are in Mexico and the U.S.

      4.     This case has been particularly difficult to get ready for trial because of

its inherent complexities and complicated logistical international travel issues, there

are many complexities due to the fact that the parties have affiliated companies and

those affiliated companies have engaged in related litigation in Mexican courts and

in another federal district court. The Mexican litigation, which includes appeals and
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amparo proceedings, likely have at least some impact on the claims and defenses of

the parties in this proceeding.

      5.     Now that the depositions of Servando Cano, Jr. and Hector Cano have

been completed, and experts designated, the parties ask this Court for leave to amend

their respective pleadings. The parties have gained a much better understanding of

the facts which remain in dispute and will proceed forthwith to complete their

discovery. Additionally, the ongoing proceedings in Mexico since this lawsuit was

filed in 2018, and the final resolution of those proceedings, as well as the additional

designation of experts, have impacted the parties’ claims and defenses. Thus, the

parties jointly request leave to amend their pleadings.

      6.     In addition, Servando Cano, Jr., who is the Vice-President of the

Defendant and its corporate representative at trial, is scheduled for major

gastrointestinal surgery on April 23, 2021.

      7.     Based on all of the above, the parties move for a continuance of the

May 4, 2021 trial setting and for entry of a new scheduling order which provides for

new deadlines for: (a) amendment of pleadings; (b) designation of additional expert

witnesses; and (c) completion of discovery. During this time, the parties will make

good use of the time by refining their claims and defenses and by developing expert

testimony which can aid the Court and the jury on complex issues of Mexican law

and damages, made even more complex by the existence of various agreements
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between affiliated companies and related litigation among some of those companies

in the Mexican legal system.

                                  CONCLUSION

      For the reasons stated above, all parties jointly request that the Court reset the

trial of this case until August 2021 or such other time at the Court’s convenience and

enter a new scheduling order with the new deadlines requested.

                                               Respectfully submitted,
                                                /s/ Yocel Alonso
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                        CERTIFICATE OF SERVICE

     On April 20, 2021, a true and correct copy of the foregoing instrument was
served on the following persons in accordance with the Federal Rules of Civil
Procedure:

     Via E-File
     Raymond L. Thomas
     Counsel for Plaintiffs
                                                /s/ Yocel Alonso
                                                Yocel Alonso
